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 1   Balam O. Letona, Esq. (Cal. Bar No. 229642)
     Law Office of Balam O. Letona, Inc.
 2   1509 Seabright Avenue, Ste. C1
     Santa Cruz, CA 95062
 3
     Telephone: (831) 421-0200
 4   Facsimile: (831) 421-0400
     balam@letonalaw.com
 5
     Attorney for Plaintiff:
 6   Robert V. Ross and Laurie Platero-Ross
 7                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9
     ROBERT V. ROSS AND LAURIE PLATERO-ROSS,                        Case No. 17-cv-06699-EJD
10
                    Plaintiff,                    STIPULATION AND
11                                                [PROPOSED] ORDER OF
               vs.                                DISMISSAL WITH
12                                                PREJUDICE AS TO
     BANK OF AMERICA N.A., EQUIFAX                DEFENDANT EQUIFAX
13
     INFORMATION SERVICES LLC, TRANS UNION, LLC., INFORMATION SERVICES
14   CREDIT PLUS, INC., and DOES 1-10.            LLC

15
                   Defendants.
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18          Plaintiffs Robert V. Ross and Laurie Platero-Ross (“Plaintiffs”), by counsel, and

19   Defendant Equifax Information Services LLC., (“Equifax”), by counsel, hereby stipulate and

20   agree that all matters herein between them have been compromised and settled, and that

21   Plaintiffs’ cause against Equifax Information Services LLC., only should be dismissed, with

22   prejudice, with each party to bear its own costs and attorneys’ fees.

23   SO STIPULATED

24   Date: August 13, 2018                                Law Office of Balam O. Letona, Inc.

25                                                        /s/ Balam Letona

26                                                        Balam O. Letona, Esq.

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28    STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
           AS TO DEFENDANT EQUIFAX INFORMATION SERVICES LLC.
          Case 5:17-cv-06699-EJD Document 73 Filed 08/14/18 Page 2 of 3




 1                                            Attorney for Plaintiff

 2
 3
     Date: August 13, 2018                    KING & SPAULDING LLP
 4
                                              /s/ Charles Campbell
 5
 6                                            Charles Campbell, Pro Hac Vice
                                              Attorneys for Defendant
 7                                            Equifax Information Services LLC

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28    STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
           AS TO DEFENDANT EQUIFAX INFORMATION SERVICES LLC.
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED that Equifax Information
 2   Services LLC., is dismissed with prejudice. Plaintiffs Robert V. Ross and Laurie Platero-
 3   Ross and Defendant Equifax Information Services LLC., shall each bear their own costs and

 4   attorneys’ fees.   All hearings and other deadlines are VACATED. The Clerk shall close this
                        file.
 5
 6             August 14, 2018
     DATED: ________________________             _____________________________________
 7                                               Hon. Edward J. Davila
 8                                               United States District Judge
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28    STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
           AS TO DEFENDANT EQUIFAX INFORMATION SERVICES LLC.
